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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                          )
 GRACE, et al.                            )
                                          )
               Plaintiffs,                )
                                          )
 v.                                       )        Civil Action No. 1:18-cv-01853-EGS
                                          )
 MATTHEW G. WHITAKER, in his              )
 Official capacity as Acting Attorney     )
 General of the United States, et al.,    )
                                          )
               Defendants.                )
                                          )

                                     NOTICE OF APPEAL

                                         JOSEPH H. HUNT
                                         Assistant Attorney General

                                         WILLIAM C. PEACHEY
                                         Director

                                         EREZ REUVENI
                                         Assistant Director

Dated: January 17, 2019                  Attorneys for Defendants
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       Defendants hereby appeal from the Court’s Order and Memorandum Opinion entered
December 19, 2018 (ECF Nos. 105, 106) in the above-captioned case to the United States Court
of Appeals for the District of Columbia.


                                              Respectfully submitted,

                                              JOSEPH H. HUNT
                                              Assistant Attorney General

                                              WILLIAM C. PEACHEY
                                              Director

                                           By: /s/ Erez Reuveni
                                              EREZ REUVENI
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Dated: January 17, 2019                       Attorneys for Defendants
         Case 1:18-cv-01853-EGS Document 115 Filed 01/17/19 Page 3 of 3




                                CERTIFICATE OF SERVICE
       I hereby certify that on January 17, 2019, I electronically filed the foregoing document
with the Clerk of the Court for the United States Court of for the District of Columbia by using the
CM/ECF system. Counsel in the case are registered CM/ECF users and service will be
accomplished by the CM/ECF system.

                                 By: /s/ Erez Reuveni
                                     EREZ REUVENI
                                     Assistant Director
                                     United States Department of Justice
                                     Civil Division
